IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK
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                                                                                 :
LESLIEANN MANNING,                                                               :
                                                                                 :          SECOND
                           Plaintiff,                                            :          AMENDED
                                                                                 :          COMPLAINT
                                                                                 :
v.                                                                               :
                                                                                 :
PATRICK GRIFFIN, Superintendent, Sullivan Correctional                           :       15-cv-003 (KMK)(PED)
Facility;                                                                        :       Jury Trial Demanded
STEPHEN URBANSKI, Captain, Sullivan Correctional Facility :
PETER COHEN, Instructor, Sullivan Correctional Facility;                         :
BRIAN BARLOW, Correctional Sergeant, Sullivan Correctional :
Facility;                                                                        :
DANIEL LADENHAUF, Correctional Officer,                                          :
Sullivan Correctional Facility,                                                  :
                                                                                 :
                           Defendants.                                           :
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                                     PRELIMINARY STATEMENT

         1.        LeslieAnn Manning is a transgender female who has been incarcerated at various

men’s maximum-security facilities for more than two decades. While working her shift as an

Inmate Program Associate at Sullivan Correctional Facility (“Sullivan”), Ms. Manning was

brutally raped 1 in an inadequately supervised, unmonitored classroom by another prisoner, with a

history of violent behavior. The Defendants, responsible for prisoner safety and security, were



1
    The term “rape” will be used in this Complaint to refer to the sexual assault that Ms. Manning suffered in
    February of 2013. The Prison Rape Elimination Act (“PREA”) defines rape as: “the carnal knowledge, oral
    sodomy, sexual assault with an object, or sexual fondling of a person, forcibly or against that person's will.”
    Prison Rape Elimination Act of 2003, PL No. 108–79, 117 Stat 972. The federal government has similarly
    expanded its definition of rape in compiling crime statistics; its updated definition includes forcible oral or anal
    penetration of a person of any gender. FBI, UCR Program Changes Definition of Rape: Includes All Victims and
    Omits Requirement of Physical Force, (Mar. 2012), http://www.fbi.gov/about-us/cjis/cjis-link/march-2012/ucr-
    program-changes-definition-of-rape. In addition, the Supreme Court has used the term “rape" to refer to the
    sexual assault of a transgender prisoner by another inmate while housed in a male facility. Farmer v. Brennan,
    511 U.S. 825, 830 (1994).
deliberately indifferent to the heightened safety risks Ms. Manning faced as a transgender female

in a men’s prison. Defendants were aware of both the general risk that transgender female

prisoners face in men’s prisons, as well the certain specific risks that Ms. Manning faced at

Sullivan. Defendants knew that the unmonitored area where Ms. Manning’s program assignment

took place was dangerous and that she, as a transgender prisoner, was at very high risk of sexual

violence, yet they consciously disregarded the known risk to her safety. Furthermore,

Defendants were no doubt aware of the Prison Rape Elimination Act, which was passed in 2003

in part to protect transgender prisoners from well-documented and pervasive sexual violence in

confinement facilities. Sullivan officials failed to protect Ms. Manning from this vicious attack

and were deliberately indifferent to her vulnerable situation.


       2.      Since the time of the rape, Ms. Manning has experienced constant fear and anxiety.

In spite of taking psychiatric medication, she finds it difficult to interact with others. She still

wakes up in a cold sweat, screaming and terrified.


       3.      Ms. Manning seeks relief under the Eighth Amendment, as Defendants knew she

faced a substantial risk of harm and were deliberately indifferent to that risk. They failed to take

reasonable measures to prevent harm to Ms. Manning, including allowing isolated sublevels of the

prison to remain unmonitored for most of the day and particularly at times when they knew Ms.

Manning worked in that area. As a result of defendants’ deliberate indifference to Ms. Manning’s

safety, she was raped at Sullivan.

                                JURISDICTION AND VENUE

       4.      This Court has jurisdiction over this action under 28 U.S.C. §§ 1331, 1343(a)(3)

and because the matters in controversy arise under 42 U.S.C. § 1983.




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        5.      Venue properly lies in this District pursuant to 28 U.S.C. § 1391(b)(2), because

the events giving rise to this cause of action occurred at Sullivan Correctional Facility, located in

the town of Fallsburg in Sullivan County, which lies within the Southern District of New York.


                                             PARTIES

        6.      Plaintiff LeslieAnn Manning is and was, at all times relevant hereto, a prisoner in

the custody of the New York State Department of Corrections and Community Supervision

(“DOCCS”). Ms. Manning was incarcerated at Sullivan Correctional Facility at all times

relevant to this incident.


        7.      Defendant Patrick Griffin is and was, at all times relevant hereto, Superintendent

of Sullivan Correctional Facility. As Superintendent, Defendant Griffin is directly responsible

for enforcing general security policies and authorizing and managing the policies, procedures

and customs governing day-to-day security. Additionally, Defendant Griffin is responsible for

the assignment and removal of staff, the training of staff and the supervision of staff and

prisoners to ensure a safe environment. Defendant Griffin is sued in his individual capacity.


        8.      Defendant Urbanski is and was, at all times relevant hereto, a Captain at Sullivan

Correctional Facility. As a Captain at Sullivan Correctional Facility, Defendant Urbanski was

responsible for overseeing sergeants and correctional officers and for investigating and

responding to prisoners’ complaints, including complaints regarding safety concerns.



        9.      Defendant Brian Barlow was, at all times relevant hereto, a Correctional Sergeant

assigned to Sullivan. On February 5, 2013, and at the time of Ms. Manning’s rape, he was the




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Sergeant assigned to the program area that included Sublevel E. As such, he was responsible for

supervising the officers and prisoners in his area, making sure that officers followed the rules and

regulations and attended to their job duties. He was also responsible for conducting rounds of

the area and reading area log books to make sure that they were being administered accurately.

He was also responsible for making visual inspections of the area to ensure that prisoners were in

compliance with rules and standards, behaving appropriately, safe and secure. Defendant

Barlow is being sued in his individual capacity.



       10.     Defendant Daniel Ladenhauf is and was, at all times relevant hereto, a

correctional officer assigned to Sullivan. As such, he was responsible for the safety and security

of the prisoners confined therein. At the time of the assault he was assigned to patrol the D&E

housing unit corridor. The D&E Housing Unit Corridor Officer was also the primary member of

the security staff responsible for patrolling and general security in Sublevel E. Defendant

Ladenhauf is being sued in his individual capacity.



       11.     Defendant Peter Cohen is and was, at all times relevant hereto, an instructor at

Sullivan. Defendant Cohen was responsible for programming and instruction of prisoners with

auditory and visual impairments. Ms. Manning was assigned to work under Cohen as a clerk and

assistant. Defendant Cohen was responsible for assigning Ms. Manning administrative and

support tasks during the working hours. After she informed him of the lack of security on the

sublevel in which they worked, Defendant Cohen still assigned her the task of bringing writing

paper to a violent prisoner in an empty, unsupervised classroom. Defendant Peter Cohen is being

sued in his individual capacity.




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                                        STATEMENT OF FACTS

                                   LeslieAnn Manning’s Background:


           12.     LeslieAnn Manning is a transgender woman who has been in DOCCS custody

since 1991. Ms. Manning is and has at all times relevant to this litigation identified as a woman.

As a young teenager, her family voluntarily committed her to a state facility because they were

unable to understand her gender identity. She has experienced constant abuse and harassment by

her family and her peers because of her gender identity.



           13.     Ms. Manning suffers from serious health problems, including HIV, chronic

obstructive pulmonary disease, heart disease, chronic pain, hearing loss, and incontinence. She

requires adult diapers for daily use. Her symptoms leave her frail, dizzy, and short of breath,

rendering her particularly vulnerable to sexual predators.


           14.     Since her incarceration, Ms. Manning has consistently fought to have her gender

identity recognized and accommodated by DOCCS. She legally changed her name to reflect her

    true gender identity. For several years, she has received hormone therapy as the result of

    a lawsuit. 2


           15.     DOCCS is and has been at all times relevant to this case, fully aware of Ms.

Manning’s vulnerable status. Ms. Manning and advocates acting on her behalf have informed

DOCCS in a variety of ways that she is a transgender woman.




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      Manning v. Goord, 05-CV-850F, 2010 U.S. Dist. LEXIS 20597 (W.D.N.Y. Mar. 8, 2010).


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         16.      On October 29, 2012 Ms. Manning filed an Article 78 petition (Index No. 2012-

00001144) and settled that case on April 9, 2013. In this suit, Ms. Manning challenged DOCCS’

decision not to allow her to wear female underwear. The suit described Ms. Manning’s history

as a transgender woman, her feminine physical appearance, and her needs and vulnerabilities as a

transgender woman in a men’s prison. DOCCS was on notice of Ms. Manning’s heightened

vulnerability as a transgender woman in a men’s prison as a result of the Article 78 litigation.


         17.      As part of a settlement agreement, DOCCS officials agreed to let her have

feminine undergarments. DOCCS also allows Ms. Manning to shower privately.


         18.      Ms. Manning has presented as a woman while incarcerated, so DOCCS has

known that she is at a heightened risk for sexual violence because of her gender identity.

DOCCS has been providing Ms. Manning with female hormones and androgen blockers to

feminize her body and bring her physical appearance into line with her female gender identity for

several years. Individuals transitioning from male to female like Ms. Manning usually use

estrogen supplements and androgen blockers to develop feminine characteristics. Effects vary

among individuals but usually include smoother skin, reduction in hair all over the body,

redistribution of fat, reduction in muscle mass for a more feminine appearance, and the

development of breasts. 3 Hormone therapy is not the only means of transition. Gender-


3
     Assessing Readiness for Hormones – Patient Considering feminizing hormones for transition from male to
    female, Center of Excellence for Transgender Health, University of California, San Francisco, Department of
    Family and Community Medicine, http://transhealth.ucsf.edu/pdf/protocols/Sample_1_MTF.pdf (last visited
    October 21, 2014). The American Medical Association recognizes hormone replacement therapy as an effective
    and medically necessary form of therapeutic treatment for transgender individuals. The World Professional
    Association for Transgender Health (WPATH) also recognizes that hormone replacement therapy is medically
    necessary. While not all transgender individuals choose to undergo hormone replacement therapy, it is the most
    common treatment for transgender patients seeking to live in accordance with the gender that they identify with.
    See WPATH Clarification on Medical Necessity of Treatment, Sex Reassignment, and Insurance Coverage in the
    U.S.A., WORLD PROFESSIONAL ASSOCIATION FOR TRANSGENDER HEALTH,



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affirming attire and the use of preferred names and pronouns are necessary as well. Effective

treatment is essential to reducing the risk of suicide and self-mutilation associated with gender

dysphoria. 4


         19.      Despite her female gender identity, Ms. Manning has been housed in men’s

prisons throughout her incarceration in DOCCS custody. Ms. Manning did not even ask to be

placed in a women’s prison because she knew it would not be permitted and she was afraid that

staff would subject her to harassment if she made such a request.


         20.      While Ms. Manning was incarcerated at Auburn Correctional Facility, the Sylvia

Rivera Law Project, an organization that advocates for transgender prisoners, wrote formal

letters to Auburn Correctional Facility’s Superintendent Burge in 2008 and 2009 informing him

of the disproportionate risk of sexual violence that Ms. Manning faced as a transgender female

prisoner in a men’s facility. The letters stated that by denying her access to private showers,

DOCCS was forcing Ms. Manning to forgo basic hygiene just to avoid sexual violence.



         21.      The Sylvia Rivera Law Project later sent a letter informing Auburn

Superintendent Harold Graham that Ms. Manning faced chronic sexual harassment at the hands




    HTTP://WWW.WPATH.ORG/UPLOADED_FILES/140/FILES/MED%20NEC%20ON%202008%20LETTERHEAD.PDF (last
    updated June 17, 2008). See also American Medical Association House of Delegates Resolution 122 (A-08),
    TRANSGENDER AT WORK PROJECT, http://www.tgender.net/taw/ama_resolutions.pdf (June 2008); Primary Care
    Protocol for Transgender Patient Care, Center of Excellence for Transgender Health, University of California,
    San Francisco, Department of Family and Community Medicine, April 2011,
    http://transhealth.ucsf.edu/trans?page=protocol-hormones (last visited April 27, 2014).
4
    Assessing Readiness for Hormones – Patient Considering feminizing hormones for transition from male to
    female, Center of Excellence for Transgender Health, University of California, San Francisco, Department of
    Family and Community Medicine, http://transhealth.ucsf.edu/pdf/protocols/Sample_1_MTF.pdf (last visited
    October 21, 2014).


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of correctional officers, which became more severe after she asked to be placed in protective

custody.


          22.   Upon information and belief, letters sent by legal organizations on behalf of

prisoners, such as those referenced above, are maintained by DOCCS in the prisoner’s file that

that is transferred along with the prisoner each time she is moved to a different DOCCS prison.


          23.   Pre-dating and during her incarceration at Sullivan, Ms. Manning had long hair

and wore feminine undergarments including a bra; Sullivan staff and prisoners knew her as

female.


          24.   Sullivan is a relatively small correctional facility that only houses between 500

and 600 prisoners. There are several sublevel areas in the facility. In these areas corrections

officers do not have clear sight lines into all rooms and so they cannot maintain adequate

supervision. The library was located in a sublevel prior to Ms. Manning’s arrival at Sullivan, but

it had to be moved because inmates had engaged in prohibited behavior there, including sexual

activity. In order to maintain security in the library, it had to be moved to a location outside the

sublevel.


          25.   When Ms. Manning arrived at Sullivan Correctional Facility on August 21, 2012,

Superintendent Griffin and other DOCCS officials were aware that she is a transgender woman.

Upon information and belief, her file was replete with paperwork related to her transgender

identity, including letters from the Sylvia Rivera Law Project detailing the risks she faces as a

transgender prisoner and a letter from Cornell Law School’s Advocacy for LGBT Communities

Clinic dated December 7, 2012, all received months before the rape.



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       26.     At no point after her arrival at Sullivan and prior to her rape did any Defendant or

other DOCCS official speak with Ms. Manning in order to assess her safety as a transgender

prisoner. They failed to take any steps to ensure that she was housed and programmed in a safe

manner despite their knowledge that she was a transgender woman who faced a greatly increased

risk of sexual violence. During quarterly reviews at Sullivan, issues of safety were never

addressed by staff. At quarterly reviews in Ms. Manning’s current facility, issues of safety are

addressed.


       27.     At all times prior to being raped, Ms. Manning was housed in general population

at Sullivan. A few weeks after she arrived at Sullivan, Ms. Manning was called for a job

orientation with the Program Committee. Ms. Manning had already obtained a Program

Associate Certificate at a prior correctional facility. This Certificate qualified her to work as a

clerk. The Program Committee assigned Ms. Manning to work as an Educational Clerk assisting

instructor Peter Cohen. This assignment was documented in Ms. Manning’s inmate file. She

worked in this job for about 6 months. In this position, she typed letters for the blind, made

coffee for the hearing and sight impaired, assisted the deaf and visually impaired with math, and

assisted with handing out supplies, such as paper and writing implements.


       28.     Ms. Manning’s position as an Educational Clerk required her to work in Sublevel

E, an area of the facility off a main corridor with five rooms aligned down a hallway. The sublevel

contained classrooms and an administrative office. Ms. Manning was generally stationed in the

main classroom and used the computer in there to carry out her job duties. The classrooms were

used for programming and instruction for prisoners with disabilities. In addition, classrooms in

Sublevel E were also used for Sex Offender program meetings, a deliberate disregard of the notice



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Defendants had about heightened security risks to transgender prisoners. The end classroom in

which the assault occurred had a door with a narrow window looking into the room. At the time

of the rape, the door was open but Ernest Williams and Ms. Manning were not in the line of vision

of the open door.


       29.     Sublevel E was known among Sullivan inmates as a “big hangout” because

prisoners could come and go as they pleased from the area, whether they were supposed to be there

for programming or not. Upon information and belief, some prisoners who were not authorized

to be in the sublevel would go there to use the computer; because of the lack of control over who

entered the sublevel, as well as the lack of supervision in the area, several people were assaulted

there. Upon information and belief, there was a pattern of sexual assaults in the sublevel areas at

Sullivan. When an assault took place in Sublevel E, corrections officers would temporarily change

their supervision patterns for a few days, patrolling more frequently and locking the classrooms

when programs were ongoing. But then after about a week the officers would go back to patrolling

only rarely and leaving all the doors open.


       30.     Prior to being housed at Sullivan and since she was transferred out of Sullivan, Ms.

Manning has been housed in numerous other correctional facilities in New York State, including

Auburn, Clinton and Wende. All of them, like Sullivan, are and were maximum security prisons.

According to Plaintiff, security in each of those prisons was more rigorous. In particular, there

were more frequent patrols by security staff in all areas where prisoners can congregate, including

program areas. The lack of security in the sublevels at Sullivan was significant and like nothing

Ms. Manning had ever seen at the other prisons.




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       31.     Upon information and belief, there was no video surveillance in sublevel E, as there

was in other parts of the prison. Cameras, both those that record and those that can be monitored

in real-time, are known to decrease violence in correctional settings. Prisoners and staff are often

aware of the camera location and these cameras act as a deterrent to violence. Cameras can help

enhance security particularly in areas of the prison that are not easily monitored by a stationed

officer and where foot patrols are rare.



       32.     Prisoners could walk in and out of Sublevel E at will. Inmates would come and

linger there, resulting in a high noise volume in Sublevel E. At some point prior to the incident,

Ms. Manning told her supervisor, Peter Cohen, that the prisoners could enter and exit Sublevel E

because the entrance was usually unlocked, as was the end classroom where the incident took

place. She told Cohen that there was not enough control over the area, as anyone could walk

through. Ms. Manning expressed concern that the area was dangerous due to prisoners coming

and going whenever they pleased and the lack of supervision in the Sublevel. Mr. Cohen

responded that the inmates had the right to be there and there was nothing he could do. Ms.

Manning told Mr. Cohen about her concerns regarding safety in the Sublevel on several

occasions but every time he told her that he could do nothing about it. Other prisoners whose

program placements were in the sublevel also complained to Mr. Cohen about the many other

prisoners who came into the sublevel without authorization. Mr. Cohen took no action in

response to these complaints either.



       33.     Mr. Cohen was often the only prison official present in the sublevel. Upon

information and belief, he had the ability and authority to lock or unlock the doors of the




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sublevel and to issue disciplinary infractions to prisoners. Upon information and belief he had

the authority and responsibility to notify security staff of any breach of security at Sullivan.


       34.     At the time of the assault, Defendant Ladenhauf, a corrections officer, was

responsible for patrolling the area. There was a log book present on the sublevel that Officer

Ladenhauf would sign to indicate that he walked through the area. He would typically sign the

log book at approximately 9 a.m. and remain in the area for a couple of minutes. Defendant

Ladenhauf did not always return to patrol Sublevel E in the afternoon and thus did not always

sign the log book during afternoon hours.


       35.     Because Defendant Ladenhauf was the officer assigned to E sublevel, Ms.

Manning had to ask him for a pass whenever she had a medical call or anything else that required

her to leave her job. Defendant Ladenhauf signed off on passes for Ms. Manning on numerous

occasions. He was aware that Ms. Manning worked in the sublevel because he regularly

interacted with her there.


       36.     Defendants Griffin, Urbanski, and Barlow stopped by Sublevel E on several

occasions while Ms. Manning was working there. Because Sullivan was a small correctional

facility with only a few hundred inmates, all the defendants knew who she was. Defendant

Griffin often said hello to Ms. Manning when he saw her in the sublevel. Defendants Griffin,

Urbanski, and Barlow were aware that Ms. Manning was engaged in programming in the

sublevel because they personally observed her at her work assignment.


       37.     On February 5, 2013 at approximately 1:15 p.m., while Ms. Manning was

working her shift as an Educational Clerk, her supervisor, Mr. Cohen, asked her to take paper to


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a prisoner who was sitting alone in a classroom. Ms. Manning complied with the request,

unaware of the prisoner’s identity.


        38.      February 5, 2013 was a particularly busy day in Sublevel E. That morning, there

had been between twelve and thirteen prisoners in Classroom 3, where Cohen’s office was

located. That afternoon, Cohen was in his office with six prisoners. Cohen was the only staff in

the area at the time.



        39.      When Ms. Manning entered the room, Williams was off to the side and out of her

view. She went into the classroom and handed Williams the paper. She told him, in sum and

substance: “Here is your paper.” Before she could leave, Williams approached her from behind,

grabbing her neck with such force that she was unable to scream or resist. He used his other

hand to pull down her pants and adult diaper and raped her by penetrating her from behind.

After releasing her from his grip, he said that that if she told anyone, he would kill her.


        40.      Ms. Manning immediately went and told Mr. Cohen that she felt ill and was going

back to her cell for the day. In shock, Ms. Manning did not tell Mr. Cohen about the vicious

assault she had just experienced. Ms. Manning went straight to her cell and did not leave for

dinner or for her nightly medication.


        41.      Physically battered and traumatized, Ms. Manning contemplated suicide the

evening of the incident. Deciding against it, she saved the diaper with evidence of the assault in

a plastic bag.




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         42.   The next day, February 6, 2013, Ms. Manning did not go to her job assignment.

She stayed in her cell for the entire day. She was afraid and experienced aching in her neck and

pain and bleeding from her anus.


         43.   On February 7, 2013, Cohen called an officer on Ms. Manning’s block three times

to make sure she would attend a mobility guide training session for prisoners learning to assist

the blind. Though she was physically and mentally unwell following the assault, Ms. Manning

attended the training session. She hid the marks on her neck from the assault out of fear and

shame.


         44.   Later that day, Ms. Manning decided to report the rape and asked the librarian to

call her inmate counselor. When the librarian could not reach the counselor, Ms. Manning told

the librarian about the incident.


         45.   Upon information and belief, the librarian told either the counselor or someone

else about Ms. Manning’s assault and shortly thereafter a sergeant and correctional officer came

to interview her.


         46.   Ms. Manning was taken across the hall to a room where the sergeant and

correctional officer asked her what happened. They then called her block to seal both her cell

and Williams’ cell.


         47.   Upon information and belief, at some point after this, Ms. Manning’s cell was

searched to get the adult diaper brief she wore at the time of the incident. The diaper was

recovered from her cell and taken to the hospital for testing. Her cell was again sealed.




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       48.     Ms. Manning was then taken to Sullivan’s medical unit where Defendant

Urbanski met her. Ms. Manning made a verbal statement about the rape to Defendant Urbanski.

Two correctional officers came in with cameras and took pictures of her. These officers also

took her clothes and bagged them for evidence even though she kept telling the officers those

weren’t the clothes she was wearing during the assault. This experience was extremely painful

and humiliating for Ms. Manning.



       49.     Ms. Manning was then taken to the Catskill Regional Medical Center, arriving at

approximately 5:00 p.m., according to medical records. She was examined by forensic nurse

Marina Deluca and two doctors. The medical professionals responsible for her examination

found that Ms. Manning exhibited signs of a sexual assault, including bruising on her neck and

abrasions around her anus. According to medical records, the hospital collected a rape kit and

turned it over to Investigator Justin Pinze at approximately 7:20 p.m. Ms. Manning returned to

Sullivan that night at approximately 9:45 p.m.


       50.     Upon information and belief, the DNA collected was eventually matched to

Ernest Williams. The next morning, February 8, 2013, Ms. Manning was approached by the

Hospital Sergeant at Sullivan with a form that would permit her to be transferred to protective

custody and advised her that she should consent to being transferred. Fearing for her safety, she

signed the form and was transferred to protective custody.


       51.     In March or April of 2013, she signed out of protective custody because she

learned that Ernest Williams had been transferred and thought she would be safe again in general

population. However, she soon concluded that general population was not safe because another



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prisoner, Joe Sullivan, called her a “rat” for reporting the assault and naming Williams as the

rapist. As a result of a general awareness among other prisoners of the assault, Ms. Manning

feared for her safety and became very withdrawn. As a result, she attempted to sign back into

protective custody but was transferred to Clinton Correctional Facility before she could be

placed there.



       52.      Ms. Manning was transferred to Clinton Correctional Facility on April 25, 2013

and placed into protective custody. She was subsequently transferred to Wende Correctional

Facility, where she is currently housed.


       53.      The sexual assault has impeded Ms. Manning’s ability to positively interact with

other prisoners and with staff. She still frequently wakes up in the middle of the night racked by

nightmares, a racing heart, and in sweats. Following the assault, Ms. Manning reports

experiencing these symptoms 4-7 nights per week and that many of them persist. She is

prescribed Zoloft for some of these symptoms in addition to Trazodone for sleep and depression.

Her Zoloft dosage was raised after the rape in order to remedy her exacerbated symptoms.


                           Defendants Were on Notice of the Risk of
             Placing Ms. Manning in a Poorly Supervised Area with a Sexual Predator

       54.      Upon information and belief, Williams was transferred to Sullivan Correctional

Facility after sexually assaulting another prisoner at Woodbourne Correctional Facility. Though

a known sexual predator, Williams was housed in the same block, D North, as Ms. Manning, a

prisoner who is a member of a targeted and particularly vulnerable prison population. Williams

was also permitted unfettered access to Sublevel E, a poorly supervised area where Ms. Manning

was assigned to work.



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       55.     Upon information and belief, Williams had a reputation of engaging in

threatening and harassing behavior.


       56.     Prior to the assault, Ms. Manning avoided contact with Williams because the day

following her arrival at Sullivan, Williams exposed himself to her in a harassing manner. She

did not report the incident because she is frequently harassed and it would be impractical to

formally make a report for every such occurrence. Ms. Manning did talk with her mental health

counselor at the facility regarding several incidents of inmates flashing or otherwise harassing

her, but the counselor merely asked how Ms. Manning was handling the harassment and offered

nothing more. Similarly, when Ms. Manning was harassed, flashed, or propositioned at Auburn

and Wende Correctional Facilities on numerous occasions, she discussed the incidents with the

mental health counselors assigned to her, but they did nothing other than ask her how she was

coping with the abuse.


       57.     Defendants acted with deliberate indifference to the safety of Ms. Manning by

allowing a sexual predator not only to reside in the same block as a transgender female but also

to have unfettered access to an unmonitored area where she was assigned to work.


       58.     Upon information and belief, Ernest Williams had sexually abused a prisoner at

Woodbourne Correctional Facility and his status as a sexual predator was the reason for his

transfer from Woodbourne to Sullivan.


       59.     At some point after the rape, Martin Fairhurst, a fellow prisoner at Sullivan

Correctional Facility, informed Ms. Manning that Ernest Williams had sexually assaulted him on




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numerous occasions, both before and after Ms. Manning’s rape. Upon information and belief,

DOCCS lodged disciplinary charges against Ernest Williams for one or more of his assaults on

Martin Fairhurst.


        60.      Upon information and belief, DOCCS disciplined Ernest Williams for his sexual

assault of Ms. Manning by placing him in solitary confinement.


                    Defendants Were On Notice of Ms. Manning’s Heightened
                     Vulnerability to Sexual Assault as a Transgender Woman

        61.      In addition to the specific risks involving Ms. Manning and the unmonitored

sublevel where she was raped, Sullivan officials, including the Defendants, knew of the

heightened safety risks surrounding transgender prisoners generally. In 2003, Congress passed

the Prison Rape Elimination Act (“PREA”) in response to the documented pervasiveness of

sexual violence in confinement settings. The statute required that the Department of Justice

(“DOJ”) issue binding national standards to assist in the prevention and response to sexual

violence. See Prison Rape Elimination Act of 2003, Pub. L 108-79, codified at 42. U.S.C. §

15601, et seq.


        62.      Following PREA’s passage in 2003, the Prison Rape Elimination Commission

(“the Commission”) was formed to research the changes needed to ensure the safety of all

prisoners from sexual violence. The PREA Commission issued its final report in June 2009.

The Report found that male-to-female transgender individuals are at a heightened risk of

experiencing sexual assault in prisons. 5 Furthermore, the Report recommended that corrections



5
    THE PRISON RAPE ELIMINATION COMMISSION, NATIONAL PRISON RAPE ELIMINATION REPORT 73 (2009).



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administrators improve their capacity to identify vulnerable populations and protect them

accordingly. 6 All related findings noted the vulnerabilities of particular groups in confinement,

including additional safety precautions for lesbian, gay, bisexual, and transgender (LGBT)

prisoners, due to the high incidences of sexual assault they experience. Specifically, the 2009

PREA Commission Report states that “research on sexual abuse in correctional facilities

consistently documents the vulnerability of men and women with non-heterosexual orientations

and transgender individuals.” 7


         63.      Defendants have long been aware of the heightened risks transgender prisoners

face in men’s correctional facilities. Twenty years ago, when faced with a similar case involving

the rape of a transgender prisoner by another prisoner, the Supreme Court of the United States

recognized the obvious danger that transgender prisoners face. 8 In Farmer, the Court found that

prisons have a duty to protect prisoners from violence at the hands of other inmates. It also held

that prison officials violate prisoners’ constitutional guarantee of basic safety when they know of

a significant risk of harm and fail to take reasonable measures to protect them. 9 This clearly

established law placed defendants on notice of their basic duties under the Constitution. The

defendants’ failure to act in light of their knowledge of the law and the risk to Ms. Manning’s

safety demonstrates deliberate indifference under the Eighth Amendment.


         64.      Before the February 5th, 2013 rape, it was widely known and discussed both

inside and outside the correctional community that LGBT and gender nonconforming prisoners



6
     Id. at 7.
7
     Id.
8
     Farmer v. Brennan, 511 U.S. 825 (1994).
9
    Id. at 842.



                                                 19
are among the groups with the highest rates of sexual victimization in prisons and jails. For

example, the Bureau of Justice Statistics (“BJS”), the Department of Justice, 10 and the National

Institute of Corrections 11 have both noted publicly that LGBT prisoners are particularly

vulnerable to sexual abuse while incarcerated.


          65.      Information detailing DOCCS’s lack of sufficient procedure and training for the

safety of transgender prisoners has been publicized in recent years. In 2007, the Sylvia Rivera

Law Project published a report that unveiled the violence and discrimination transgender

prisoners face in New York State prisons. 12 The report included narratives from transgender

prisoners discussing the physical and sexual abuse they endured at the hands of other prisoners,

correctional officers, and other prison staff. 13 Upon information and belief, the Sylvia Rivera

Law Project presented this report to various DOCCS officials, including the Commissioner and

various superintendents. Moreover, the report was posted on the National Institute of

Corrections’ webpage. Defendants knew of the safety risks surrounding a physically frail

transgender female prisoner with chronic medical problems like Ms. Manning in a men’s prison.

Despite actual knowledge that sexual violence was likely to occur, Defendants acted with

deliberate indifference to Ms. Manning’s safety by allowing her to work in an area with

inadequate supervision and classrooms that, upon information and belief, were freely accessible

to other prisoners including Williams, a known sexual predator.




10
     BJS, SEXUAL VICTIMIZATION IN PRISONS AND JAILS REPORTED BY INMATES 2011-12, NATIONAL INAMTE SURVEY,
     2011-12 (2013).
11
     NICIC, Lesbian, Gay, Bisexual, Transgender and Intersex Offenders, available at http://nicic.gov/lgbti (last
     visited Nov. 11, 2014). .
12
     SYLVIA RIVERA LAW PROJECT, “IT’S A WAR IN HERE”: A REPORT ON THE TREATMENT OF TRANSGENDER AND
     INTERSEX PEOPLE IN NEW YORK STATE MEN’S PRISONS (2007).
13
     Id. at 17.


                                                         20
          66.     The Sylvia Rivera Law Project’s report found that “every person who was

interviewed reported encountering some form of harassment and/or assault during their

imprisonment. The persistent physical, emotional, and sexual abuse reported included verbal

harassment, physical and sexual assault, humiliation, and rape.” 14 The report also notes that

transgender prisoners face constant harassment at the hands of other prisoners. 15


          67.     A 2007 study from the University of California, Irvine found that, in the

California prison system, transgender prisoners report more sexual assault by a factor of 13.4

compared to the non-transgender prisoners (59% to 4.4%). 16 The Bureau of Justice Statistics

noted in May, 2013 that all of the BJS victim self-report surveys conducted under PREA found

that prisoners with the highest rates of sexual victimization are those who identified as LGBT. 17


          68.     In response to an increased awareness of the significant risk of harm transgender

prisoners face in male facilities, detainment policies throughout the country have been modified

to provide for the safety of transgender prisoners. For example, in June 2012, the Denver

Sheriff Department implemented a directive in response to PREA regulations that established

guidelines to facilitate the elimination of discrimination against and provide for the safety,

security and medical needs of transgender and gender-variant prisoners. 18 The policy



14
     Id. at 19.
15
     Id. at 25.
16
     JENNESS, MAXSON, MATSUDA & SUMNER,VIOLENCE IN CALIFORNIA CORRECTIONAL FACILITIES: AN EMPIRICAL
     EXAMINATION OF SEXUAL ASSAULT 31 (2007). available at
     http://www.wcl.american.edu/endsilence/documents/ViolenceinCaliforniaCorrectionalFacilities.pdf.
17
     U.S. DEPARTMENT OF JUSTICE, OFFICE OF JUSTICE PROGRAMS, BUREAU OF JUSTICE STATISTICS, SEXUAL
     VICTIMIZATION IN PRISONS AND JAILS REPORTED BY INMATES, 2011-2012, AT 31, available at
     http://www.bjs.gov/content/pub/pdf/svpjri1112.pdf. See also JODY MARKSAMER, HARPER JEAN TOBIN, STANDING
     WITH LGBT PRISONERS: AN ADVOCATE’S GUIDE TO ENDING ABUSE AND COMBATING IMPRISONMENT, NATIONAL
     CENTER FOR TRANSGENDER EQUALITY 3 (2013).
18
      DENVER SHERIFF DEP’T, OFFICE OF THE DIR. OF CORR./UNDERSHERIFF, DEP’T ORDER 4005.1 TRANSGENDER AND
     GENDER-VARIANT INMATES (2012), available at https://s3.amazonaws.com/static.nicic.gov/Library/026337.pdf.




                                                       21
specifically provides for the establishment of a Transgender Review Board that is responsible for

making decisions regarding the health and safety of transgender prisoners. Furthermore, the

policy requires the Board to convene seventy-two hours after a transgender prisoner is identified

as such to determine the prisoner’s “medical, psychological, and housing needs.” 19 A similar

policy was implemented by the Harris County, Texas Sheriff’s Department in 2013. 20

Specifically, the policy requires that “All inmates, within 72 hours of arrival at a HCSO

detention facility, shall be assessed for their risk of being sexually abused by … other inmates in

compliance with PREA standards.” 21


           69.    In May 2013, DOCCS updated Health Directive 1.31, which lays out the policies

for prisoners to be diagnosed with “Gender Identity Disorder” and to obtain hormones and state-

issued bras. The directive also states, “It is the policy of the New York State Department of

Corrections and Community Supervision to recognize that Gender Identity Disorder (GID) is a

psychiatric diagnosis.” 22 This policy change shows that DOCCS was aware of the issues

transgender prisoners face and the need to change policies to conform to their specific needs.


           70.    Upon information and belief, Patrick Griffin was responsible for supervising the

care, custody and control of all prisoners in Sullivan. Superintendent Griffin was on notice of

the particular dangers transgender females face when housed in male facilities like Sullivan.

Prior to Ms. Manning’s rape, the Sylvia Rivera Law Project sent the Superintendents of Auburn

and Sullivan numerous letters that specifically expressed that transgender women are extremely


19
     Id. at 5.
20
     HARRIS CNTY. SHERIF DEP’T, POLICY NO. 413 (2013) available at
     http://www.harriscountyso.org/documents/PREA/HCSO_LGBTI_Policy.pdf.
21
     Id. at 6.
22
     N.Y. STATE DEP’T OF CORR. AND CMTY. SUPERVISION , DEP’T OF HEALTH SERV., POLICY: GENDER IDENTITY
     DISORDER 1.31 (2013), available at http://srlp.org/wp-content/uploads/2012/08/HSPM-1.31-May-20-2013-
     version.pdf.


                                                       22
vulnerable in male prisons and are at an increased risk of sexual violence and victimization.

Furthermore, prior to Ms. Manning’s rape, the Sylvia Rivera Law Project sent advocacy letters to

Auburn Correctional Facility during the time Ms. Manning was housed there specifically alerting

Superintendent Graham of the harms that she faced as a transgender woman in a male

correctional facility. Upon information and belief, despite the fact that Ms. Manning’s file was

replete with information regarding the significant risk of harm she faced because of her gender

identity, the security at Sullivan remained inadequate. Upon information and belief, defendant

Griffin knew about the routine lack of adequate supervision in the sublevel area where Ms.

Manning was raped and was aware of Williams’ history of sexual assaults. He was also aware

that Ms. Manning was working in Sublevel E because he personally observed her there on

several occasions and often said hello to her when he stopped by the area. Yet in spite of this

information and his responsibilities, security remained inadequate and Ms. Manning was placed

in harm’s way.




       71.       Defendants Urbanski and Griffin were also aware that she was subjected to

harassment at the hands of correctional officers. Defendants Urbanski and Griffin knew of and

inadequately addressed the harassment incidents, resulting in a deliberate disregard for Ms.

Manning’s safety and contributing to her constant fear of violence.


       72.       Upon information and belief, on October 31 and November 1, 2012 correctional

officers harassed Ms. Manning. On October 31, Ms. Manning was leaving the medication line

when she was pinned against the wall, searched, and had her breasts squeezed by a female

Correctional Officer. She was told she could not wear her hair in a ponytail on top of her head,

although no prison directive prohibits her hairstyle.


                                                 23
       73.     The following day, November 1, 2012, leaving the medication line Ms. Manning

was yelled at and pinned against the wall by a male Correctional Officer. He felt and squeezed

her breasts very hard when searching her, causing her significant emotional and physical distress.

Ms. Manning feared getting her medication, which she requires due to her numerous serious

medical conditions. The harassment contributed to the general lack of safety and vulnerability

Ms. Manning experienced while incarcerated at Sullivan. The hostility and contempt Sullivan

corrections officers exhibited toward Ms Manning because of her gender identity made her more

vulnerable to harassment and assault by other inmates who understood that she was a disfavored

prisoner who staff did not wish to protect. According to corrections experts, when corrections

officers tolerate harassment against transgender prisoners on account of their sexual identity, it

encourages inmates to commit further attacks upon the transgender individual because they see

that such violence will not be punished. Upon information and belief, Defendants were aware

that permitting anti-transgender harassment against Ms. Manning would encourage other inmates

to attack her, and yet they failed to intervene and ensure her safety.


       74.     Ms. Manning wrote to Superintendent Griffin regarding these two incidents.

Subsequently, a sergeant spoke with Ms. Manning to investigate the matters. Upon information

and belief, Captain Urbanski wrote a letter to her concluding the investigation into this matter.


       75.     On December 7, 2012, the Cornell LGBT Clinic wrote to Defendant Griffin

alerting him to the continuous harassment Ms. Manning suffered at the hands of Correctional

Officers, who were making degrading comments about her gender identity. The letter detailed

the October 31, 2012 and November 1, 2012 incidents. The letter to Defendant Griffin informed




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him of Plaintiff’s fear that the gender-identiy based harassment by DOCCS employees would

“worsen and esacalate to the point of violence.”


       76.     Superintendent Griffin wrote to the Cornell LGBT Clinic on December 18, 2012

informing counsel that Defendant Urbanski had been charged with investigating the matter and

that Defendant Urbanski had written to Ms. Manning on November 14, 2012 regarding the

harassment incidents and that Ms. Manning’s future concerns should be addressed to facility

officials. Defendant Griffin did not indicate any steps the facility had taken or would be taking

to ensure Ms. Manning’s future safety, nor were any such steps taken. Upon information and

belief, any investigation that took place in response to the letter did not actually address the

safety of Ms. Manning or whether she was in danger of being harassed and/or assaulted by staff

or other prisoners.


       77.     Upon information and belief, Defendant Urbanski had notice of Ms. Manning’s

identity as a transgender woman including, the fact that she lives openly, identifies, and presents

as a transgender woman and that she has a woman’s name. Defendant Urbanski was also aware

that Ms. Manning was working in Sublevel E because he personally observed her there on

several occasions. Defendant Urbanski disregarded the known risk to a transgender woman’s

safety by failing to sufficiently address her concerns for her safety. That disregard contributed to

the culture of danger and potential for sexual violence that resulted in the February 5, 2013

incident mere months later.


                                 CAUSE OF ACTION
              CLAIM FOR RELIEF FOR DEPRIVATION OF FEDERAL CIVIL
              RIGHTS UNDER 42 U.S.C. § 1983 AGAINST ALL DEFENDANTS




                                                 25
        78.     Ms. Manning incorporates by reference all previous paragraphs of this Complaint

as if fully set forth here.


        79.     Defendants, acting under color of state law, deprived Plaintiff of the rights,

privileges, and immunities guaranteed to citizens of the United States by the Eighth and

Fourteenth Amendments to the United States Constitution and in violation of 42 U.S.C. § 1983

by failing to take reasonable security precautions which resulted in substantial harm to Ms.

Manning.


        80.     Defendants’ unreasonable practice of allowing prisoners to roam around an

inadequately monitored sublevel and disregard for Ms. Manning’s obvious and substantial risk of

harm as a transgender prisoner with other chronic health problems that left her physically frail,

amounted to deliberate indifference to Plaintiff’s safety.


        81.     Despite Defendants’ notice that, as a transgender woman, Ms. Manning was

highly vulnerable to sexual violence, she suffered serious injury in violation of her right to be

free from cruel and unusual punishment.



                                        DEMAND FOR RELIEF

        WHEREFORE, Plaintiff LeslieAnn Manning respectfully requests judgment

against Defendants as follows:

        (A)     A declaration that Defendants violated the Civil Rights Act of 42 U.S.C. § 1983

and the Eighth Amendment of the United States Constitution by being deliberately indifferent to

the heightened vulnerability of Plaintiff;




                                                 26
       (B)     An order awarding compensatory punitive damages against Defendants, in an

amount to be determined at trial;

       (C)     Reasonable attorneys’ fees and costs under 42 U.S.C. § 1988;

       (D)     Directing such other and further relief as the Court may deem just and proper,

together with attorneys’ fees, interest, cost, and disbursements of this action.

                                             JURY DEMAND

               Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff LeslieAnn

       Manning hereby demands trial by jury on all claims asserted in the above complaint.

Dated: New York, NY
       May 31, 2016
                                                      ____________/s______________________
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